Case 2:03-CV-02285-BBD Document 14 Filed 08/23/05 Page 1 of 5 Page|D 5

%/ .C.
IN THE UNITED STATES DIS'I‘RICT COUR'I' Fn-Eb B¥ mo
FOR THE WESTERN DISTRICT OF TENNESSEE

 

  

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}HOWW GOULD
X CLEBK U.S. DiSTHJCT COURT
UNITED sTATEs oF AMERICA x WGGFMJRMHM
X
Plaintiff, X
X
vs. X Cv. NO. 03-2285-D/V
X Cr. No. 01-20187-D
JAMES LATARRO PRICE, X
X
Defendant. X
X

 

ORDER GRANTING UNITED STATES' MOTION FOR CLARIFICATION AND
RELIEVING IT OF .ANY OBLIGATION TO RESPOND 'I'O TIME-BARRED ISSUES
AND
ORDER DENYING MOTION TO AMEND

 

On July 19, 2004, defendant, James Latarro Price, filed an
amended § 2255 motion. (Docket entry #7) The pleading was filed
after the Court directed the United States to respond to Price's
original motion, which was timely filed on April 24, 2003. On
August 4, 2004, the United States filed a motion for clarification
of its obligation to respond to the amended motion. On August 13,
2004, the United States responded to the motion to vacate.

On October 21, 2004, Defendant filed a two page unsigned
amended motion which was duplicative of the pleading filed on July
19, 2004, with the exception that it was missing the signed third
page. (Docket entry #12) On November 3, 2004, Defendant filed a
motion to amend his pending § 2255 motion based upon the holding of

Blakelv v. Washington} 542 U.S. 296 (2004).l

 

1 The Court also anticipates an additional motion to amend and

supplement the petition with the holding of United States v. Booker, 125 S. Ct.
738 (Jan. 12, 2005).

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wlth Rule 58 ancUor 79(a) FF\CP on

Case 2:03-CV-02285-BBD Document 14 Filed 08/23/05 Page 2 of 5 Page|D 6

Price's conviction became final on May 22, 2002, when the time
for filing a notice of appeal expired. He filed his motion to
vacate on April 24, 2003, and was entitled to amend the motion to
raise additional issues until May 22, 2003. The mandate of Fed. R.
Civ. P. 15(a), that a court freely grant leave to amend when
justice so requires, has been interpreted to allow supplementation
and clarification of claims initially raised in a timely § 2255
motion. See Anderson v. United States, No. 01-2476, 2002 WL 857742
at *3(6th Cir. May 3, 2002); Oleson v. United States, No. 00-1938,
2001 WL 1631828 (Gth Cir. DeC. 14, 2001).

However, once the statute of limitations has expired, allowing
amendment of a petition with additional grounds for relief would
defeat the purpose of the Antiterrorism and Effective Death Penalty
ACt Of 1996, Pub. L. NO. 104-132, 110 Stat. 1214 (Apr. 24,
1996)(codified, inter alia, at 28 U.S.C. § 2244 et seq.)(AEDPA).
Oleson, 2001 WL 1631828 at *3 (citing United States v. Thomas, 221
F.3d 430, 436 (3d Cir. 2000)(“[A] party cannot amend a § 2255
petition to add a completely new claim after the statute of
limitations has expired.”)).2

Price's amended motion filed on July 19, 2004, and the
duplicative motion filed on October 21, 2004, raise additional

claims. The amended motions are untimely and the issues therein

 

2 See also United States v. Pittman, 209 F.3d 314, 317-18 (4th Cir.

2000)(“The fact that amended claims arise from the same trial and sentencing
proceeding as the original motion does not mean that the amended claims relate
back for purposes of Rule 15@. . . Such a broad view of ‘relation back' would
undermine the limitations period set by Congress in the AEDPA” (citing United
States v. Duffus, 174 F.3d 333, 337 (3d Cir. 1999)).

 

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Case 2:03-CV-02285-BBD Document 14 Filed 08/23/05 Page 3 of 5 Page|D 7

are barred by the AEDPA statute of limitations. (Docket entries #7
and #12) Accordingly, the motion of the United States for
clarification is GRANTED. (Docket entry #9) The United States has
no obligation to respond to the time-barred issues.

Furthermore, to the extent defendant seeks to amend and
supplement his pending issues to seek relief under the principles
enunciated in Blakelv v. Washinqton, 124 S. Ct. 2531 (2004), such
amendment would be futile. See Oleson v. United States, 27 Fed.
-Appx. 566, 570-71 n. 5 (6th Cir. 2001)(holding motions seeking to
amend to retroactively apply Apprendi v. New Jersev, 530 U.S. 466
(2000), to initial § 2255 motions futile, because Apprendi was not
retroactive in effect and citing United States v. Sanders, 247 F.3d
139, 146-51 (4th Cir. 2001)). Price cannot demonstrate that
Blakely has been “made retroactively applicable to cases on
collateral review.” 28 U.S.C. § 2255. New rules of constitutional
criminal procedure are generally not applied to cases on collateral
review. I§§gg§_y;_gagg, 489 U.S. 288 (1989).

In United States v. Booker, 125 S. Ct. 738 (2005), although
the Supreme Court determined that its holding in §lak§l§y applies
to the Sentencing Guidelines, §nge;, 125 S. Ct. at 755-56, the
Court also expressly stated that its holding must be applied to all

cases on direct review. Booker, 125 S. Ct. at 769 (citing Griffith

 

v. Kentucky, 479 U.S. 314, 328 (1987)(“[A] new rule for the conduct
of criminal prosecutions is to be applied retroactively to all

cases . . . pending on direct review or not yet final, with no

Case 2:03-CV-02285-BBD Document 14 Filed 08/23/05 Page 4 of 5 Page|D 8

exception for cases in which the new rule constitutes a ‘clear
break' with the past”)).

The Sixth Circuit determined in Humphress v. United States,
398 F.3d 855 (Feb. 25, 2005), that the rule of Booker does not fall
within the second exception of Teague. ld; at 863(noting that the
Supreme Court has never held that a new rule of criminal procedure
falls with the second. exception. of Teague). Thus, the Sixth
Circuit concluded that the rule of Booker does not apply
retroactively in collateral proceedings. Humphress, 398 F.3d at
860.

Accordingly, it would be futile to allow Price to amend or
supplement his motion to vacate to seek retroactive application of

Blakely or Booker. The motion (Docket entry 13) is hereby DENIED.

IT IS SO ORDERED thisé&£d day Of AuguSt, 200

  
    

ITED STATES DISTRICT JUDGE

 

UNITED STATES DISTRIC COURT- WESTERN DISTRICT OF TENNESSEE

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